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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                            LAFAYETTE DIVISION

  SECURITIES & EXCHANGE                     CIVIL ACTION NO. 6:18-CV-01229
  COMMISSION

  VERSUS                                    JUDGE JUNEAU

  WORLD TREE FINANCIAL, LLC,                MAGISTRATE JUDGE WHITEHURST
  ET AL.

                                FINAL JUDGMENT

        The Court, sitting without a jury, tried this matter on November 2–5, 2020.

  Pursuant to the Court’s previously entered Findings of Fact and Conclusions of Law

  and for the reasons contained therein,

        IT IS ORDERED, ADJUDGED, AND DECREED that Defendant World

  Tree Financial, LLC be and hereby is held liable for violating 15 U.S.C. § 78j(b) and

  associated rules 17 C.F.R. §§ 240.10b-5(a), (b), and (c); 15 U.S.C. § 77q(a)(1) and

  (2); and 15 U.S.C. §§ 80b-6(1) and (2).

        IT IS FURTHER ORDERED that Defendant Wesley Perkins be and hereby

  is held liable for violating 15 U.S.C. § 78j(b) and associated rules 17 C.F.R. §§

  240.10b-5(a), (b), and (c); 15 U.S.C. § 77q(a)(1) and (2); and 15 U.S.C. §§ 80b-6(1)

  and (2).

        IT IS FURTHER ORDERED that Defendant Priscilla Perkins be and hereby

  is held liable for violating 15 U.S.C. § 78j(b) and associated rule 17 C.F.R. §
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  240.10b-5(b), as well as 15 U.S.C. § 77q(a)(2). She is not liable for aiding and

  abetting violations of 15 U.S.C. §§ 80b-6(1) and (2), and the SEC’s claim to the

  contrary is DENIED and DISMISSED WITH PREJUDICE.

        In light of these violations,

        IT IS ORDERED that Defendant World Tree Financial, LLC and Defendant

  Wesley Perkins, along with their agents, servants, employees, attorneys, and all

  persons in active concert or participation with them who receive actual notice of this

  Final Judgment by personal service or otherwise, be and hereby are

  PERMANENTLY ENJOINED from violating, directly or indirectly, Section 10(b)

  of the Securities Exchange Act of 1934 and Rules 10b-5(a) and (c) thereunder;

  Section 17(a)(1) of the Securities Act of 1933; or Sections 206 (1) and (2) of the

  Investment Advisers Act of 1940, by engaging in a cherry-picking scheme or

  otherwise failing to allocate block trades in a fair and equitable manner.

        IT IS FURTHER ORDERED that Defendant World Tree Financial, LLC

  and Defendant Wesley Perkins, along with their agents, servants, employees,

  attorneys, and all persons in active concert or participation with them who receive

  actual notice of this Final Judgment by personal service or otherwise, be and hereby

  are PERMANENTLY ENJOINED from violating, directly or indirectly, Section

  10(b) of the Securities Exchange Act of 1934 and Rule 10b-5(b) thereunder; Section

  17(a)(2) of the Securities Act of 1933; or Sections 206(1) and (2) of the Investment

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  Advisers Act of 1940, by making false and misleading statements to their clients

  about their block trade allocation practices.

        IT IS FURTHER ORDERED that Defendant World Tree Financial, LLC

  and Defendant Wesley Perkins DISGORGE, jointly and severally, $347,947 plus

  $36,335.98 prejudgment interest. Defendants shall satisfy this obligation by

  transmitting a total payment of $384,282.98 to the Securities and Exchange

  Commission within 30 days of entry of this Final Judgment.

        IT IS FURTHER ORDERED that Defendant World Tree Financial, LLC

  pay a civil penalty of $300,000. The Defendant shall satisfy this obligation by

  transmitting payment to the Securities and Exchange Commission within 30 days of

  entry of this Final Judgment.

        IT IS FURTHER ORDERED that Defendant Wesley Perkins pay a civil

  penalty of $160,000. The Defendant shall satisfy this obligation by transmitting

  payment to the Securities and Exchange Commission within 30 days of entry of this

  Final Judgment.

        IT IS FURTHER ORDERED that Defendant Priscilla Perkins pay a civil

  penalty of $80,000. The Defendant shall satisfy this obligation by transmitting

  payment to the Securities and Exchange Commission within 30 days of entry of this

  Final Judgment.




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        IT IS FURTHER ORDERED that all requested relief not expressly granted

  herein is hereby DENIED.

        The Clerk of Court is directed to close this case.

         THUS DONE AND SIGNED in Lafayette, Louisiana, on this 15th day of

   January, 2021.




                                             MICHAEL J. JUNEAU
                                             UNITED STATES DISTRICT JUDGE




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